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                                                                                  FILED
                                                                               U.S. DISTRICT COURT
                                                                           EASTERN DISTRICT ARKANSAS


                        UNITED STATES DISTRICT COURT                              OCT 1 i 2n13
                        EASTERN DISTRICT OF ARKANSAS
                             JONESBORO DIVISION

GREGORY ALAN RAPERT,

      Plaintiff,

vs.                                                     Civil Action No.

WEPFER MARINE, INC.,

      Defendant.
                                                        This case assigned to District Judge   Jjl./l'l£5
                                                        and to Magistrate Judge           K£4rK£t
                                NOTICE OF REMOVAL

      Pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, Defendant, Wepfer Marine, Inc.

("Wepfer"), hereby gives notice of the removal of this action, titled Gregory Alan Rapert

v. Wepfer Marine, Inc., bearing civil action number CV-2013-96-RP, form the Circuit Court

of Mississippi County, Arkansas to the United States District Court for the Eastern District

of Arkansas, Jonesboro Division.

                     I. INTRODUCTION AND BACKGROUND

      On September 12, 2013, Plaintiff Gregory Alan Raper ("Rapert"), filed his Complaint

in the Circuit Court of Mississippi County, Arkansas against Defendant, Wepfer. The

Complaint seeks recovery under the Savings to Suitor's Clause of 28 U.S. C. §1333, asserts

that admiralty and maritime jurisdiction exists, and claims also that Rapert has Arkansas

State law claims arising from an alleged fall which Rapert, who was not an employee of

Defendant, Wepfer, while aboard a barge alleged to have been towed by an inland river

towboat owned or operated by Wepfer and negligently pushed into a dock, causing Rapert

to be injured. Plaintiff seeks to recover money damages "in an amount that exceeds the

minimum monetary figures for the Federal Court Diversity Jurisdiction" according to his
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Complaint. Pursuant to 28 U.S.C. §1446(a), a true and legible copy of the Complaint is

attached hereto as Exhibit" A."

       2.      On or aboutSeptember'14, 2013, Plaintiff served a copy of the Complaint and

Summons on Defendant Wepfer. Pursuant to 28 U.S.C. §1446(a), a true and legible copy

of the Summons is attached hereto as Exhibit "B."

       3.      This action is removable because this Court has diversity jurisdiction

pursuant to 28 U.S.C. §1332. Plaintiff alleges to be a citizen of Arkansas and is diverse from

the Defendant, Wepfer, which is incorporated pursuant to the laws of the State of

Tennessee, with its principal place of business being in Memphis, Tennessee.

       II. REMOVING THIS ACTION UNDER DIVERSITY JURISDICTION

       4.       This action is removable to federal court because this Court has diversity

jurisdiction pursuant to 28 U.S.C. §1332.

       5.      The parties to this case are completely diverse.

       6.      Defendant Wepfer is a corporation organized and existing under the laws of

the State of Tennessee, with is principal place of business in the State of Tennessee.

Defendant Wepfer is, therefore, a citizen of the State of Tennessee.

       7.      Plaintiff Rapert is a citizen of the State of Arkansas.

       8.      The $75,000.00 amount in controversy requirement is satisfied as set forth in

paragraph 11 of Plaintiff Rapert' s Complaint and in the prayer wherein Plaintiff confesses

that his claim "exceeds the monetary figure for federal court diversity."

       III. PROCEDURAL REQUIREMENTS OF REMOVAL ARE SATISFIED

       9.      Pursuant to 28 U.S.C. §1446(b), this Notice of Removal is timely filed within

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thirty (30) days after Defendant Wepfer received the Complaint and Summons.

      10.      The Eastern District of Arkansas is the federal judicial district encompassing

the Circuit Court of Mississippi County, Arkansas, Osceola District, where this suit was

originally filed. Venue is therefore proper in this district under 28 U.S.C. §1441(a).

      11.      Defendant Wepfer is providing Plaintiff with written notice of the filing of

this Notice of Removal as required by 28 U.S.C. §1446(d).

      12.      Pursuant to 28 U.S.C. §1446(d), Defendant Wepfer is filing a copy of this

Notice of Removal with the Clerk of the Circuit Court of Mississippi County, Arkansas.

                                     JURY DEMAND

      13.      Defendant hereby demands a trial by jury on all issues of the Complaint.

      WHEREFORE, Defendant, Wepfer Marine, Inc., hereby gives notice that the above

entitled state court action, formerly pending in the Circuit Court of Mississippi County,

Arkansas, be removed to the United States District Court for the Eastern District of

Arkansas, Jonesboro Division.

      This the 11th day of October, 2013.


                                             0 L J.      DERSON, MSB #2264
                                               NDERSON DANTONE, PA.
                                            P.O. Box778
                                            Greenville, MS 38702
                                            Telephone No. (662) 378-3400
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                                            Attorney for Defendant, Wepfer Marine, Inc.




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                               CERTIFICATE OF SERVICE

       I, Joel J. Henderson, attorney for the Defendant, Wepfer Marine, Inc., hereby certify

that on this, the 11th day of October, 2013, I mailed, via United States mail, postage prepaid,

the foregoing to the following:

       Phillip Wells, Esq.
       McDaniel & Wells, PA
       400 S. Main St.
       Jonesboro, AR 72401




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